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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 HAYDEN RICHARDSON,

                Plaintiff,

 v.                                                Case No.: 1:21-cv-00522

 NORTHWESTERN UNIVERSITY,                          Honorable Edmond E. Chang
 AMANDA DASILVA, HEATHER VAN
 HOEGARDEN OBERING, MICHAEL                        Magistrate Judge Sheila M. Finnegan
 POLISKY, and PAMELA BONNEVIER,

                Defendants.


      STIPULATION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL
                        PROCEDURE 41(a)(1)(A)(ii)




          IT IS HEREBY STIPULATED AND AGREED by and between the parties to the above-

entitled cause, through their respective attorneys, that this cause be dismissed with prejudice

without costs or fees to any party, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).




Entered:______________________



                                             By:___________________________________
                                                   Judge
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                               APPROVED AND AGREED:


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